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               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF GEORGIA
                       STATE SBORO DIVISION


MARTELL ANTWON MINGO,                                              rn


     Movant,

V.                                          Case No. V614-099
                                                     CR6 12-0 18
UNITED STATES OF AMERICA,

     Respondent,

                               ORDER
      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed. Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court.

     SO ORDERED this             day of                  , 2015.




                                  UNITED STATES D TRICT JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
